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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS

NAVY SEALS 1-3, et al.,
                            Plaintiffs,
      v.                                              Case No. 4:21-cv-01236-O
LLOYD AUSTIN, III, in his official capacity as
Secretary of Defense, et al.,
                            Defendants.



  DEFENDANTS’ SUPPLEMENTAL APPENDIX IN SUPPORT OF THEIR INITIAL
  SUPPLEMENTAL BRIEF IN SUPPORT OF THEIR ASSERTION OF MOOTNESS

                                     Table of Appendix
   Bates Stamps                                  Description
 App002–App-004       Declaration of Martin Pompeo

Dated: September 12, 2023                 Respectfully submitted,

                                          BRIAN M. BOYNTON
                                          Principal Deputy Assistant Attorney General
                                          Civil Division

                                          ALEXANDER K. HAAS
                                          Director, Federal Programs Branch

                                          JOSHUA E. GARDNER
                                          Special Counsel

                                          /s/ Liam C. Holland
                                          Liam C. Holland (Admitted in New York)
                                          Trial Attorney
                                          ANDREW E. CARMICHAEL
                                          AMY E. POWELL
                                          Senior Trial Counsel
                                          STUART J. ROBINSON
                                          Senior Counsel
                                          ZACHARY A. AVALLONE
                                          CASSANDRA M. SNYDER
                                          Trial Attorneys
                                          United States Department of Justice
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                                 Civil Division, Federal Programs Branch
                                 1100 L Street, N.W.
                                 Washington, DC 20005
                                 Tel: (202) 514-4964
                                 Fax: (202) 616-8470
                                 Email: Liam.C.Holland@usdoj.gov

                                 Counsel for Defendants
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              Exhibit 1




                                                                    App 001
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                                                                    App 002
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                                                                    App 003
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                                                                    App 004
